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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JAMES SERVEDIO,

                                   Plaintiff,
                 -against-                                                  20 CIVIL 3907 (LTS)(SDA)

                                                                                JUDGMENT
TRAVELERS CASUALTY INSURANCE
COMPANY OF AMERICA,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Order dated December 6, 2021, Defendant's motion to

dismiss the Second Amended Complaint is granted in its entirety; accordingly, the case is closed.

Dated: New York, New York

          December 7, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
